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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                CASE NO       25-nij-8248-RMM

                                                                                               SP
    UNITED STATES of AMERICA


    V.                                                                             May 12, 2025
   RICHARD ISRAEL LAZARO,
                                                                                                 West Palm Beach

                   Defendant.



                                     CRIMINAL COVER SHEET


         1. Did this matter originate from a matter pending in the Northern Region ofthe United States
            Attorney's Office prior to August 8,2014(Mag. Judge Shaniek M.Maynard)? NO

         2. Did this matter originate from a matter pending in the Central Region ofthe United States
            Attorney's Office prior to October 3,2019(Mag. Judge Jared M.Strauss)? NO

         3. Did this matter involve the participation of or consultation with now Magistrate Judge
            Eduardo I. Sanchez during his tenure at the U.S. Attorney's Office, which concluded on
            January 22,2023? NO

         4. Did this matter involve the participation of or consultation with now Magistrate Judge
            Marta Fulgueira Elfenbein during her tenure at the U.S. Attorney's Office, which
            concluded on March 5,2024? NO




                                                         Respectfully submitted,

                                                         HAYDEN P. O'BYRNE
                                                         UNITED STATES ATTORNEY



                                                 By:
                                                         Brian D. Ralston
                                                         Assistant United States Attorney
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                                                                    May 12, 2025

                                                                            West Palm Beach
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